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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF MARYLAND, (GRERHREDD

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EYAL SAMUEL ROSENSTOCK CASENO: — 18-19227
Debtor CHAPTER 13

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MOTION TO INFORM SENTENCE REGARDING
CHILD SUPPORT AND ARREARS

TO THE HONORABLE COURT:
NOW COMES the creditor herein, Marie Pifieiro Perez, who very respectfully ALLEGES

AND PRAYS the following:

1. Debtor filed a request for appeal (certiorari) in case number CC-2018-1041, to
reverse the judgment regarding the amounts established for child support and
arrearage. He appears as the petitioner.

2. As of this date, the Court of Appeals denied (No Ha Lugar) debtor’s petition. The
arrearage remains as per proof of claim filed. Please refer to the Resolution attached
hereto.

3. As per Amended Plan dated January 8 20198, debtor fails to recognize the total
amount owed of $71,692.81. Please refer to proof of claim number 3-1.

4, Also, debtor has failed to maintain current regular payments and as of this date, has
$3,101.05 in post-petition arrears. Please refer to the Certification issued by ASUME.

5. The proposed payment plan is insufficient to pay what it proposes. Creditor objects
the confirmation of the proposed payment plan.

6. The appearing creditor objects the confirmation of the plan and requests the Court
denies the confirmation of the plan.

WHEREFORE and view of the above said, I,Marie Pifieiro Perez respectfully requests that

 

the Honorable Court takes notice of the above for the continuation of the proceedings and denies

 

 

 
 

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confirmation of the payment plan.

I HEREBY CERTIFY on this same date that I electronically filed the foregoing document
with the clerk of the court using the CM/ECF System which will send notification of such filing to
the following: Chapter 13, Mrs. Nancy Spencer Grigsby; debtor’s attorney, Mr. David Erwin Cahn;
and all parties in interest.

In San Juan, Puerto Rico to Maryland, this 12" day of February, 2019.

/s/ Marie Pifieiro Perez
Urb. Paseo Los Robles
Las Colinas II

Apt 1305

Mayaguez, PR 00682
Tel. 787-464-7050

 

 
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EN EL TRIBUNAL SUPREMO DE PUERTO RICO

Sala I
Marie Pifleiro Pérez
Recurrido
Vv. CC-2018-1041 Certiorari

Eyal S. Rosenstock

Peticionario

 

 

 

 

Sala de Despacho integrada por la Jueza Presidenta Oronoz Rodriguez, la
Jueza Asociada sefiora Pabén Charneco y el Juez Asociado sefior Feliberti
Cintrén

RESOLUCION

En San Juan, Puerto Rico, a 18 de enero de 2019.

Atendida la peticién de Certiorari que presenté la

parte peticionaria, se provee ne oo ceser por craso
incumplimiento con el Reglamento dé este Tribunal.

Lo acordé el Tribunal y certifica el Secretario
del Tribunal Supremo.

 

 

 

 

 

 
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Fecha dé Emisién: arinjonis
Issue date:

CERTIFICACION
CERTIFICATE
Nuestro sistema mecarizado-contiene la siquiente iaformacién:
Our automated case. management.system has the following information:

MARIE: PINEIRO PEREZ no tiene la obligacin de pagar pensién-alimentaria a través. dé ASUME.
MARIE PINEIRO PEREZ does not have obligation:to.pay child support through the ASUME,

 

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Pension "préeawncia de. Fecha Ultimo | ‘Balance iPlan de Plan de ‘Plan de jregistrado del
Caso Fijada :Pago: 'Pago ‘adeudado tPagos: 2 Pagos iPages iPlan de-Pagos
pease Support {Payment Frequency ° Last Payment ‘Arrears bue Payment plan. Payment plan ; , Payment Plan } Date of last
; j Established | Date ‘ “requency _ establishment Payment for
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En:esteé caso los: alimentistas NO- recibieron asisteritia econoniica del Piogratha Ayuda ‘femporal a Familias Necesitadas TANF’,
Un.this case, the obligees.received NOeconomic assistance trent the Temporary Assistance:for Needy Families Program (TANF).

MARIE I PINEIRO PEREZ NO se encuentra acogido/a a la Ley de Quiebras.
MARIE I PINEIRO PEREZ IS:NOT under the protection of the Bankruptcy Act.

Tiené 0 __ abligacidn(es) de pagas.de pension(és) alitnenitaria(s) a través de ASUME.
Has 0 child support. abligation(s) through tie ASUME

Recibe pensién alimentaria-a través de ASUME en 1 caso(s):
Receives child stipport through ASUME in L  tase(s)

0577468

Este-documento resume la informacién contenida-en él sisterna:mecanizado {PRACSES) de la Administracién para-el Sustento de
Menores. Los ‘pagos realizados directamente:a la persona: custodia no-sé registran como pagos de pension. alimentaria ni plan de
pago. Debera:acudira laoficina de la ASUME donde esta asignado su caso para solicitar la acreditacién de pagos-efectdados fuera dé
ASUME, El balance dé esta Certificacién no. incluye: eles en que fue expedida. La informacién de este documento es valida por
treinta (30) dias, a partir-de la fecha desu emision.

This. dacument summarizes the.information contained in the Administration: for Child ‘Support Enforcement automiéted syster | (PRACSES). Payments:
made ditectly to: the: Custodial Person are neith registered ‘as child support payments noras payments made. tor the payment.plan. You must visit thé
ASUME oifice to: which your case is assigned in onder to:request to credit thosé payrients: The balance if this Certificate does not include the eurrent
month when it was issued, The information contained in this doctirient is valid for thirty (30) days from its issue date.

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NOTA DE CONFIDENCIALIDAD: La informacién contenida en este documento ¥ ‘cualquier anejo del mismo es confidencial y
privilégiada y tiane el propdsite de que sélo sea-utilizado por la persona idéntificada en el-mismo.

CONFIDENTIALITY. NOTE: The information contained ih this docimént and any attachmentis contidential and privileged and has the purpose of being
used-only by the persar identified in it.

‘Pata validdrla informacion contenida en este cettificada, favor-acceder a -httpa/www.pr.gov/validacioriélectronica/.

To validate the infotmation herein, please.access hito:/Avww: pt.gov/validacionelacttonica/. ASN-5268
REV 02/15

 

 

 
